       Case 4:20-cv-03299 Document 10 Filed on 03/01/21 in TXSD Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 LINDA MOORE AND THOMAS                          §
 MOORE, JR.                                      §
                                                 §
      Plaintiffs,                                §
                                                 §
 v.                                              §
                                                 §
 WELLS FARGO BANK, NATIONAL                      §      CIVIL ACTION NO. 4:20-cv-03299
 ASSOCIATION, AS TRUSTEE FOR                     §
 MASTR ASSET BACKED                              §
 SECURITIES TRUST 2004-OPT2,                     §
 MORTGAGE PASS-THROUGH                           §
 CERTIFICATES, SERIES 2004-OPT2;                 §
 AND PHH MORTGAGE                                §
 CORPORATION                                     §
                                                 §
      Defendants.                                §


                    NOTICE OF SERVICE OF PLAINTIFFS’ RULE 26(a)(2)
                           EXPERT WITNESS DESIGNATION


         Plaintiffs Linda Moore and Thomas Moore, Jr. (“Plaintiffs”), hereby give notice of service

of their Expert Witness Designation as required by Federal Rules of Civil Procedure 26(a)(2) to

counsel for Defendants Wells Fargo Bank, National Association, as Trustee for Mastr Asset

Backed Securities Trust 2004-OPT2, Mortgage Pass-Through Certificates, Series 2004 OPT2 and

PHH Mortgage Corporation.




                                               1 of 3
   Case 4:20-cv-03299 Document 10 Filed on 03/01/21 in TXSD Page 2 of 3




DATED:    March 1, 2021                    Respectfully submitted,

                                           JEFFREY JACKSON & ASSOCIATES, PLLC

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                                           MOORE, JR.




                                  2 of 3
     Case 4:20-cv-03299 Document 10 Filed on 03/01/21 in TXSD Page 3 of 3




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon all counsel of record via Certified Mail, Return Receipt Requested, Facsimile
and/or the Court’s CM/ECF system on March 1, 2021.

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                                                     /s/ Jeffrey C. Jackson
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                                            3 of 3
